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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

                                                   §
STUDENTS FOR JUSTICE IN                            §
PALESTINE AT THE UNIVERSITY OF                     §
HOUSTON, et al.,                                   §
                                                   §
       Plaintiffs,                                 §
                                                   §
v.                                                 §               No. 1:24-CV-523-RP
                                                   §
GREG ABBOTT, in his official capacity only as      §
the Governor of the State of Texas, et al.,        §
                                                   §
       Defendants.


                               DECLARATION OF BARRI SEITZ


        1.     My name is Barri Seitz, and I am over the age of 18 and fully competent in all respects
 to make this declaration. I have personal knowledge of the facts alleged herein because I observed
 these events. I am making this declaration in connection with the above-captioned cause of action.
        2.     I am a rising Sophomore at the University of Texas at Austin (“the University of Texas
 at Austin”), in the Plan II Honors Program, an honors major. At the University of Texas at Austin,
 I have founded Longhorn Students for Israel, a pro-Israel organization; served on the Executive
 Board at Chabad, a Jewish religious center; and participated in various organizations affiliated within
 the Plan II Honors program. I have served in several leadership roles through campus organizations,
 including Israel Block Party, an annual Hillel event celebrating Israeli culture and values.
        3.     As a student at the University of Texas at Austin, I had the opportunity to firsthand
 observe Jewish student life on and around campus. After the October 7, 2023, slaughter of Israeli
 civilians, Jewish and Israeli organizations at the University of Texas at Austin increased security to
 protect their students due to the global escalation in violence. Nevertheless, during this past year,
 pro-Palestinian protests and protestors increased tension and campus disruptions.
        4.     Specifically, disruption and calls to violence especially increased this past spring
 semester. First, in January, a student group at the McCombs School of Business hosted an event
 with Yaron Brook, a prominent Israeli-American business speaker. I attended the event.
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       5.     Once I arrived at this event, both Mr. Brook and event volunteers notified students
that disruptions would not be tolerated, and that disruptive students would be removed after
receiving one warning. Nevertheless, pro-Palestinian protesters began to stand up and shout at Mr.
Brook, screaming various violent and disruptive phrases. Protestors shouted while Mr. Brook was
speaking and over other attendees as they asked questions during a Q&A session. Despite Mr.
Brook’s warning, there was a disruption nearly every minute. After the first warning, disruptors were
removed by the event staff, regardless of what they were saying. A protestor was even forcibly
removed by police in handcuffs after they repeatedly interrupted the event and refused to leave.
Afterwards, I later learned that the protestor was neither a student nor faculty member at the
University of Texas at Austin.
       6.     After the event, my classmates and I planned to attend weekly Shabbat dinner at
Chabad but had to walk out of the way to another building first for our own safety, due to the
disruption and threatening activity by pro-Palestinian protestors still on campus.
       7.     I also received threatening comments directed towards me on my personal Instagram
throughout the past semester, such as “Israel = [Swastika],” comparing the state of Israel to the
Nazis, and inverted red triangles, which, to my understanding, were first used by military operatives
for Hamas, the perpetrator of the October 7, 2023 attack, and currently denote that someone is
being targeted for execution for being Israeli or Jewish. The accounts posting these threats were
following the Palestinian Solidarity Committee at the University of Texas at Austin (“PSC”) at the
time that I received the threats.
       8.     The following picture accurately reflects the post and comments from my Instagram:




                                                 2
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           Nazi symbols were commented by a PSC follower this year on various posts that I
         created, including a post I published years ago celebrating fundraising for cancer, as
                       well as a photo talking about the October 7, 2023 attacks1




          9.    As tensions increased globally, users at the University of Texas at Austin on Instagram
  and other messaging platforms posted “globalize revolution” and “globalize intifada,” in text and
  graphics. Specifically, I understand that while “intifada” translates to “uprising” in Arabic, “globalize
  the intifada” calls for people from around the globe to participate in rising up against Israel, and
  ultimately, encourages targeting institutions, and individuals around the world who show support
  for Israel, which includes the majority of Jews. Since the first and second intifada in Israel in the
  1990s and 2000s included bombings, attacks, and other brazen violence against civilians and resulted
  in the death of Israelis, I believe these statements to be very violent in nature.



1 Exhibit A.



                                                    3
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       10.     Then, leading up to Israel Block Party, PSC made known its plans to disrupt the event.
I even saw a pamphlet containing various violent chants that PSC intended to chant at the Israel
Block Party event. The day of the event, PSC used devices to amplify noise, and PSC members
painted their hands red in reference to a lynching of Jewish people in Ramallah, where two Israeli
Defense Forces reservists were brutally murdered by Palestinians and their bodies paraded through
the streets.




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                     Blood on hands, in celebration of the Ramallah Lynchings2




         11.     At the Israel Block Party event, students also defaced various empty “hostage chairs”
  that Israel Block Party officials placed to symbolize a call to return the civilian hostages that Hamas
  kidnapped on October 7, 2023, in addition to students’ displacement of chairs at the event.


2 “The Day in Pictures,” THE GUARDIAN, https://www.theguardian.com/gallery/galleryguide/0,6143,381704,00.html.



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          12.   Only weeks later, PSC posted a flyer online stating that on April 24, 2024, “class is
  cancelled,” “lets occupy the main mall.”
    Flyer calling for a protest that will cancel classes, during the week before final exams3




          13.   During this protest, participants at the PSC event chanted “long live the intifada,”
  “stand with Palestine” and “from the river to the sea, Palestine will be free.” A protestor approached
  me with a box of face masks and stated, “take this mask to cover your ugly Zionist face.”


3 Exhibit B.



                                                   6
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          14.     And, after police officers attempted to clear out the area, I observed a protestor
  approach a police officer and attempt to spook a police horse by shaking objects in front of the
  officer, jolting towards the horse.
                Masked student taunting police, before attempting to spook a police horse4




          15.     I also saw a protestor throw horse manure at a police officer. Ultimately, officers
  cleared the area and dispersed the crowd.
          16.     Only days after this protest, I woke up on April 29, 2024, to find someone had written
  “Zionists can choke and die on their own spit” on a poster hung outside my private campus dorm
  that houses, and is commonly known to house, many Jewish students:




4 Jay Janner, Mikala Compton, and Ricardo B. Brazziell, “Pro-Palestinian protest held at UT-Austin, protesters arrested.

Here's what it looked like,” AUSTIN AMERICAN STATESMAN (April 24, 2024), https://www.statesman.com/picture-
gallery/news/2024/04/24/ut-austin-protest-protests-arrest-pro-palestine-walk-out-photos/73441175007.

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               Call of death of Zionists, many of whom are Jewish, outside a dorm housing many
                                                Jewish students5




          17.      PSC planned another day of protest for April 29, 2024, even though the university had
  suspended them. Immediately before this protest, I approached a PSC member and asked the
  protestor about their posters and books. When I was reading the materials, I saw pamphlets that



5 Exhibit C.



                                                     8
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said “how to start anarchy on a college campus” and “long live the intifada,” materials promoting
armed resistance against Israel.
       18.     Worse yet, the PSC protestors barricaded themselves in an encampment, shielded by
signs, umbrellas, and masks to prevent others from discovering their identities, and preventing law
enforcement from entering. The protestors even had signs that called for active “resistance,”
meaning violence.
       19.     From both inside and outside the encampment, protestors at the PSC protest told me
“go back to Poland” and “go back to Germany,” again referring to the two countries where the
Nazis had the most concentration camps during the Holocaust, and subsequently utilized such
camps to attempt to ethnically cleanse both countries of Jewish people. These comments made me
fear for my safety.
       20.     I asked PSC members why they were still hosting events, as they had been temporarily
suspended. The members told me it was because PSC was “liberating campus.”
       21.     During this time, I could not get to my final exams or the library to study without
having to walk through protest crowds. Worse yet, alarms were constantly going off during exams,
interrupting one of the most important academic proceedings of the year. I received constant emails
and texts notifying me of incidents on campus and telling protestors to disperse, but they appeared
to ignore those notifications.
       22.     During this time, the Chabad Jewish center increased security outside both the door
and the fence-line to protect students during worship. There were also more officers placed around
Texas Hillel, another Jewish student center on campus. And, at Alpha Epsilon Phi, a Jewish sorority,
students and their families were asked to donate funds to hire an additional security officer to protect
students in the chapter house and around the perimeter. Despite the efforts of PSC to disrupt
campus life and promote violence, I feel safer on campus as a Jewish student because of the actions
of the university.
       23.     I feel that the university acted reasonably in light of what it knew to prevent student-
on-student harassment by protestors, as well as any accompanying violence. Often, the university
had to react to a quickly evolving situation, but still took reasonable steps to respond to antisemitic
conduct and prevent the creation of a severe, pervasive, and objectively offensive discriminatory
environment.
       24.     All of the factual statements contained within this declaration are within my personal
knowledge as events I personally observed and are true and correct.

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           Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true and
correct.
           Executed on this 18 day of August 2024.


                                                  ______ _____________
                                                  BARRI SEITZ




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                    Exhibit A




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                   Exhibit B




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                   Exhibit C




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